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                             United States District Court
                             Eastern District of Michigan
                                  Southern Division

United States of America,
                                               Case No. 19-cr-20026
             Plaintiff,
                                               Honorable Gershwin A. Drain
v.

D-1 Bharath Kakireddy,
D-2 Suresh Reddy Kandala,
D-3 Phanideep Karnati
D-4 Prem Kumar Rampeesa,
D-5 Santosh Reddy Sama,
D-6 Avinash Thakkallapally,

             Defendants.


                          First Forfeiture Bill of Particulars


      The United States, by and through its counsel, submits this First Forfeiture

Bill of Particulars, pursuant to Rule 7(f) of the Federal Rules of Criminal

Procedure to supplement and clarify the forfeiture allegations contained in the

Indictment and to provide notice of specific property the government intends to

forfeit upon conviction.

      The allegations set forth in the Indictment are re-alleged and incorporated

herein by this reference for the purpose of providing notice of the forfeiture
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allegations contained in the Indictment, pursuant to Federal Rule of Criminal

Procedure 32.2(a) and 18 U.S.C. § 982(a)(6) and/or 18 U.S.C. § 981(a)(1)(C),

together with 28 U.S.C. § 2461(c), which includes, but is not limited to:

          • Forty-five dollars and ten cents ($45.10) U.S. Currency seized from

             Bank of America Account Number XXXXXXXX0175 in the name of

             Bharath Kakireddy;

          • Two Thousand, Eight Hundred Thirty-three Dollars and Fifty-seven

             Cents ($2,833.57) U.S. Currency seized from Wells Fargo Account

             Number XXXXXX0535 in the name of Avisash Thakkallapally;

          • One Thousand, Three Hundred Forty-eight Dollars and Fifty-nine

             cents ($1,348.59) U.S. Currency seized from Bank of America

             Account Number XXXXXXXX2667 in the name of Santosh Reddy

             Sama;

          • A forfeiture money judgment against Bharath Kakireddy in favor of

             the United States in the amount of $32,454.90;

      This Forfeiture Bill of Particulars is also filed to comply with the provisions

of Title 18, United States Code, Section 983(a)(3), and the government reserves its

right to file a civil forfeiture complaint regarding the identified property, if

necessary, at the conclusion of this criminal action.




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      This notice does not limit the government from seeking the forfeiture of

additional specific property, including substitute assets, or limit the government

from seeking the imposition of additional forfeiture money judgments.

                                              Respectfully submitted,

                                              Matthew Schneider
                                              United States Attorney

                                              S/Michael El-Zein
                                              Michael El-Zein (P79182)
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Dated: May 1, 2019




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                             Certification of Service

      I hereby certify that on May 1, 2019, the foregoing document filed with the

Clerk of the Court using the ECF system, which will electronically serve all ECF

participants.


                                            S/Michael El-Zein
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